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                     Composite
                     Exhibit “A”
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                                                                 IN THE CIRCUIT COURT OF THE
                                                                 SEVENTEENTH JUDICIAL CIRCUIT IN
                                                                 AND FOR BROWARD COUNTY, FLORIDA

        JOSE LUIS MIRABAL,                                       CASE NO. CACE-19-021311 (02)

                        Plaintiff,
        v.

        HAIRPEOPLE HAIRCUTS, INC.,
        DAWN DELANEY and ROBERT DELANEY,

                        Defendants.                              /

                   NOTICE OF APPEARANCE AND COMPLIANCE WITH RULE 2.516(b)(1)
                              AND DESIGNATION OF EMAIL ADDRESS

                PLEASE TAKE NOTICE that Dana M. Gallup, Esq. of the law firm of GALLUP AUERBACH

        hereby appears in this proceeding as counsel for Defendants, HAIRPEOPLE HAIRCUTS, INC.,

        DAWN DELANEY and ROBERT DELANEY, and requests that all correspondence, notices and

        pleadings, motions and other papers be hereafter served on the undersigned counsel.

                Dana M. Gallup, Esq., on behalf of HAIRPEOPLE HAIRCUTS, INC., DAWN DELANEY

        and ROBERT DELANEY, hereby files this Notice of Compliance with Rule 2.516(b)(1) and

        Designation of E-Mail Address and designate the following e-mail addresses for service of pleadings,

        notices, motions, orders and other documents in the above-styled matter:

                        Primary E-Mail:                  dgallup@gallup-law.com
                        Secondary E-Mails:               mescobar@gallup-law.com
                                                         jauerbach@gallup-law.com
                                                         dauerbach@gallup-law.com
                                                         csox@gallup-law.com

                                             CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on November 22, 2019, the foregoing has been electronically filed
        with the Clerk of the Court via the Florida Courts E-Portal and a true and correct copy has been
        emailed via the portal’s electronic service to R. Martin Saenz, Esq., (msaenz@saenzanderson.com),
        Saenz & Anderson, PLLC, 20900 NE 30th Avenue, Suite 800, Aventura, FL 33180.




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                                                     By: /s/ Dana M. Gallup
                                                         DANA M. GALLUP
                                                         Florida Bar No. 0949329




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